     Case: 1:20-cr-00299 Document #: 7 Filed: 06/19/20 Page 1 of 1 PageID #:10




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )      20 CR 299
            v.                              )
                                            )      Judge Robert M. Dow, Jr.
HARDY LEE BROWNER                           )

                         APPEARANCE OF COUNSEL

      Please take notice that the undersigned Assistant United States Attorney

Jordan Matthews is assigned to this case.

                                            Respectfully submitted,

                                            JOHN R. LAUSCH, JR.
                                            United States Attorney
                                            Northern District of Illinois

                                      By:    /s/ Jordan Matthews
                                            JORDAN MATTHEWS
                                            Assistant United States Attorney
                                            219 S. Dearborn St., Rm. 500
                                            Chicago, Illinois 60604
                                            (312) 697-4090




Date: June 19, 2020
